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                                    IN THE UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF VIRGINIA
                                             ROANOKE DIVISION

                                 CRIMINAL MINUTES - GUILTY PLEA HEARING

Case No.: 7:19CR00024                        Date: 6/3/21

Defendant: Kehana Renee James, bond                                 Counsel: Tony Anderson, CJA

PRESENT:          JUDGE:                     Michael F. Urbanski, CUSDJ          TIME IN COURT: 9:13-10:25 1h 12m
                  Deputy Clerk:              Kristin Ayersman
                  Court Reporter:            Judy Webb
                  U. S. Attorney:            Kari Munro
                  USPO:                      Brittany Warren
                  Case Agent:                none
                  Interpreter:               none

PROCEEDINGS: Parties present by ZoomGov – dft waives in person appearance and consents to video conference, no
objection. Court deems it is in the best interest of the public to go forward, citing the pandemic.

          Waiver of Indictment filed.
          Information filed.
          Plea Agreement filed with court; SOF filed with the court.
          Defendant advised of right to have U. S. District Judge accept plea. Defendant waives this right, and executes
          Consent to Allow U. S. Magistrate Judge to accept plea
          Defendant re-arraigned as to Counts Enter counts to which pleading guilty
          Defendant placed under oath. Court questions defendant regarding his/her physical and mental condition, and
          advises defendant of his/her rights, and the nature and possible consequences of plea.
          Court accepts plea of guilty.
          Guilty plea form executed and filed.
          Government summarizes evidence to support plea and rests.
          Court finds defendant guilty as charged in Counts 5 and to the lessering included Ct 4 (PWID heroin, without
          enhancement for bodily injury)
          OR
          U. S. Magistrate Judge accepts plea of guilty to Counts enter counts to which defendant pled guilty and will
          recommend that the U. S. District Judge find the defendant guilty of said counts.

DEFENDANT PLEADS:
(list counts)


   DEF. #              GUILTY                NOT GUILTY              NOLO                      REMARKS
              lesser included in Ct 4
              PWID heroin, without
      1
              enhancement for
              bodily injury, Ct 5
      2

      3

      4

          Court orders Presentence Report.
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         Copy of Presentence Report not requested.
         Defendant to remain on bond – US is not seeking pre-sentencing detention for reasons stated on the record. Dft
         counsel concurs. Court finds exceptional circumstances and dft to remain on terms and conditions of the bond until
         sentencing for reasons stated on the record.
         Defendant remanded to custody.
         Sentencing hearing scheduled for TBD before Judge Urbanski.

Additional Information:
Dft states she remains fully satisfied with her representation in this case.
